                       IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE


In re:                                                     )        Chapter 11

AV DEBTOR HOLDINGS,et a1., 1                               )        Case No. 18-11142(CSS)

                                  Debtors.                 )        (Jointly Administered)

                                                       Objection Deadline: October 2, 2018 at 4:00 p.m.(ET)
                                                            Hearing Date: October 10,2018 at 2:00 p.m.(ET)


      DE~3TORS' MOTION F4R ENTRY OF AN ORDER (I) DISMISSING THE
   CHAPTER 11 CASES;(II) AUTHORIZING THE ABANDONMENT OF CERTAIN
    PROPERTY;(III) TERMINATING CLAIMS AND NOTICING SERVICES;(IV)
  EXCULPATING CERTAIN PARTIES FROM LIABILITY IN CONNECTION WITH
      THESE CHAPTER 11 CASES; AND(V)GRANTING RELATED RELIEF

                  The above-captioned debtors and debtors-in-possession (collectively, the

"Debtors") respectfully request the entry of an order, substantially in the form attached hereto as

Exhibit A (the "Dismissal Order"): (a) dismissing these chapter 11 cases (the "Chapter 11

Cases"); (b) authorizing, but not directing, the Debtors to abandon the Wonder Vision Claims

and Unsold Collateral to the Collateral Agent (each as defined below) or such other party as the

Collateral Agent may designate;(c) exculpating certain parties from liability in connection with

these Chapter 11 Cases;(d) terminating the claims and noticing services of Omni Management

Group, Inc. ("Omni"); and (e) granting related relief. In support of this motion (the "Motion"),

the Debtors respectfully state as follows.




' The Debtors and the last four digits of their U.S. tax identification number are[AV Debtor Holdings](f/k/a
Arecont Vision. Holdings, LLC)(9187),[AV Debtor](f/lda Arecont Vision, LLC)(1410), and[AV Debtor IC
DISC](f/k/a Arecont Vision IC DISC)(5376). The Debtors' noticing address in these chapter 11 cases is AV
Debtor Holdings, et al. c/o Armory Strategic Partners, LLC, 1230 Rosecrans Avenue, Suite 660, Manhattan Beach,
CA 90266, Attn: T. Scott Avila, Chief Restructuring Officer.




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                                    PRELIMINARY STATEMENT

                  1    -Following the successful Court-approved-sale of substantially all-of the -

Debtors' assets, the Debtors submit that dismissal of these Chapter 11 Cases, with limited

exculpation of estate fiduciaries, is appropriate. As a result of a competitive auction, which

resulted in approximately thirty overbids, the purchase price for the Debtors' assets increased by

$3,875,000.       In addition, the purchaser agreed to fix the working capital adjustment at

$2,228,000 and waived any lookback period, which was highly beneficial to the estates. The

purchaser also assumed significant liabilities of the Debtors, including certain prepetition debt,

administrative claims, and importantly, employee paid time off obligations. The sale closed on

July 13, 2018, resulting in the satisfaction of the Debtors' obligations under adebtor-in-

possession financing facility.2

                  2.      As a result of the sale, the Debtors believe that no material unencumbered

assets remain in the estates and there is no reasonable prospect of further distributions to holders

of unsecured claims (the amount of which the Debtors estimate to be no more than $500,000).

Only one pending lawsuit remains, which was pending before the bankruptcy filing and carved

out of the sale —the Wonder Vision Claims (as defined below). The Debtors are plaintiffs in this

action and the expected proceeds of such claims are subject to the liens of the Collateral Agent.

Without funding for this litigation or a chapter 11 plan or unencumbered assets to be used in a

chapter 7liquidation, the Debtors submit that dismissal is the most expeditious and cost-effective

means of winding-down their affairs, along with the requested abandonment of the Unsold


2 The purchaser also acquired avoidance claims against any existing customer or vendor ofthe Debtors' business
with the expectation that such claims would not be pursued.



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Collateral (including the Wonder Vision Claims) to the Collateral Agent (or such other party as

the Collateral Agent designates), In-this-context-and given the success of-the sale;-the Debtors - -

believe that limited exculpation of estate fiduciaries is warranted. The Debtors therefore request

dismissal ofthese Chapter 11 Cases pursuant to the terms of the proposed Dismissal Order.

                                JURISDICTION AND VENUE

                  3.   The United States Bankruptcy Court for the District of Delaware (the

"Court") has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

U.S.C. § 157(b)(2), and the Debtors confirm their consent pursuant to rule 9013-1(~ of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the "Local Rules") to the entry of a final order by the Court in connection

with this Motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

ofthe United States Constitution.

                  4.   Venue for this matter is proper in this district pursuant to 28 U.S.C.

sections 1408 and 1409.

                  5.   The statutory bases for the relief requested herein are sections 105(a), 305,

349, 363(b)(1), 554(a), and 1112(b) of title 11 of the United States Code (as amended, the

`Bankruptc~Code"), rules 1017, 2002, 3003, 6007 and 9013 of the Federal Rules of Bankruptcy

Procedure (the "Bankruptcy Rules"), and Local Rule 1017-2.




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                                         BACKGROUND

A.     General Background           _     __           _             _     _     __      _      _    __   __

                  6.   On May 14, 2018 (the "Petition Date"), each of the Debtors filed with this

Court voluntary petitions for relief under chapter 11 of the Bankruptcy Code. Until the closing

of the sale, the Debtors operated their businesses as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

                  7.   Prior to the sale, the Debtors were in the business of designing,

manufacturing, distributing and selling IP-based megapixel cameras for use in video surveillance

applications globally, serving a broad range of industries. The Debtors offered seven megapixel

product families ranging from MegaVideoOO single-sensor cameras from 1 to 10 megapixels and

SurroundVideoOO multi-sensor cameras from 8 to 40 megapixels at various price points.

                  8.   The factual background regarding the Debtors, including their historical

business operations and the events precipitating the chapter 11 filings, is set forth in detail in the

DeclaNation of T. Scott Avila, ChiefRestructuNing Office, in Support ofFz~st Day Motions (the

"First Day Declaration") filed on the Petition Date at Docket No. 4 and fully incorporated herein

by reference.

B.     The DIP F~cility and Sale

                  9.   On June 7, 2018, the Court entered the Final OrdeN PuNsuafzt to 11 U.S.C.

ss~' 105, 361, 362, 363, 364, and 507, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local

Rule 4001-2 (I) Ai~thoNizing the DebtoNs to Use Cash CollateNal and Obtain Post-Petztzon

Financing, (II) Granting Liens and Providing SupeN-Priority Adrninzst~ative Expense Status, (III)




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Granting Adequate Protection, (IV) Schedulzng A Final Hearing, and (V) GNanting Related

Relief-[Docket No. 107] {the- "Final DIP- Order"); authorizing--the-Debtors to obtain- up to

$4,000,000 in debtor-in-possession financing (the "DIP Financing"). The Final DIP Order

provided the Debtors with access to necessary funding to maintain their operations and satisfy

administrative costs during these Chapter 11 Cases, while pursuing a sale of substantially all of

their assets.

                  10.   Also on June 7, 2018, the Court entered the ONdeN (A) Author~izzng Entry

Into the Asset Purchase Ag~eeinent With Respect to the Sale ofSubstantially All ofthe DebtoNs'

Assets; (B) Approving Bid PNoceduresfoN the Sale ofSubstantially All ofthe Assets ofDebtors;

(C)Scheduling an Auction and Hewing to ConsideN the Sale and Approve the FoNfn and Manner

of Notice Related Thereto; (D) Establishing PNocedures Relating to the Assumption and

Assignment of Certain Contracts and Leases, Including Notice ofPNoposed Cure Amounts; (E)

Approving CeNtazn Breakup Fee and Expense Reimbursement PNovisions; anc~ (F) GNanting

OtheN Related Relief(the "Bid Procedures Order"), which provided that interested parties were

required to submit Qualified Bids (as defined in the Bid Procedures Order) by June 29, 2018.

The Debtors received two Qualified Bids, and an auction was held on July 9, 2018.

                  11.   As a result of the successful auction, Arecont Vision Costar LLC (the

"Purchaser"), an affiliate of Costar Video Systems, LLC, was determined to be the highest and

best bid. The final purchase price of $13,875,000.00 was approximately $3,875,000 above the

initial stalking horse bid.    Additionally, the Purchaser agreed to fix the working capital

adjustment at $2,228,000 and to waive asixty-day lookback period, which was highly beneficial




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to the estates. Further, as set forth in section 1.3 of the Purchase Agreement(attached as Exhibit

1 to the Sale-Order (as defined below)),-among other things, the Purchaser-assumed significant -

liabilities, including certain prepetition debt, administrative obligations, accrued sick pay,

vacation, and other paid time off of employees, and certain trade accounts payable of the

Debtors.3

                   12.    The terms of the sale (the "Sale") are set forth in the ONdeN (A)

Authorizing the Sale of Substantially All of the Debtors' Assets Pursuant to Asset Purchase

AgNeement(s) Free and Clear of Liens, Claims and Encumbrances, and OtheN Interests; (B)

Approving the Assumption and Assignment of CeNtain ExecutoNy Contracts and Unexpired

Leases Related TheNeto; and (C) GNanting Related Relief[Docket No. 168](the "Sale Order")

The assets sold as part of the Sale constituted collateral of the Collateral Agent (as defined

below).

C.      Abandonment of the Wonder vision Claims and All Remaining Unsold Collateral

                   13.    Pursuant to this Motion, the Debtors request authority to abandon all

remaining unsold collateral (the "Unsold Collateral") of US Bank National Association (the

"Collateral Agent"), as the Collateral Agent for certain insurance company purchasers advised

by AIG Asset Management (U.S.), LLC (together, "AIG"), as holders of certain notes (the

"Prepetition Notes") issued or guaranteed by the Debtors under that certain that Note Purchase

Agreement, dated as of March 31, 2014 (as amended, amended and restated, supplemented or

otherwise modified from time to time, the "Prepetition Secured Note Agreement") and certain


3 The Purchaser also acquired avoidance claims against any existing customer or vendor ofthe Debtors' business
with the expectation that such claims would not be pursued.



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related agreements (together with the Prepetition Secured Note Agreement, the "Prepeition Note

Documents"). -The-obligations under-the Prepetition Note-Documents- are-secured by first and:-

second priority liens against substantially all of the Debtors assets (the "Prepetition Liens"),

including all rights, claims, interests, privileges and defenses of the Debtors in, to and under,

arising from, related and/or asserted in connection with the certain litigation styled as "Arecont

Vision Holdings, LLC v. Wonder Vision Inc., et al.," pending under Case No. 2017-0741-JRS in

the Court of Chancery of the State of Delaware, including the right to pursue or settle and

compromise any such claims and the proceeds thereof(the "Wonder Vision Claims"). Pursuant

to the Final DIP Order, the Prepetition Liens are deemed legal, valid, perfected, enforceable, and

non-avoidable for all purposes. Final DIP Order ~ 20.

                  14.   The Debtors propose to abandon the Unsold Collateral to the Collateral

Agent, which would include the Wonder Vision Claims.             As set forth in the First Day

Declaration, on March 3, 2017, the Debtors reached a share purchase agreement for the interests

of the Debtors with NetPosa Technologies, Ltd. ("NetPosa"), for a purchase price of

$170,000,000, subject to customary working capital adjustments (the "NetPosa Sale

Agreement").       Following the execution of the NetPosa Sale Agreement, the Debtors'

performance began to decline, and NetPosa terminated the NetPosa Sale Agreement in

September 2017, which it was not permitted to do under the terms of the NetPosa Sale

Agreement. In October 2017, Arecont Vision Holdings filed suit against NetPosa for breach of

contract and other claims, seeking recovery of the $8,600,000 deposit from the NetPosa Sale

Agreement(which remains in escrow), and $50,000,000 in damages.




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                   15.   Prior to the filing of these Chapter 11 Cases, Arecont Vision Holdings,

LLC assigned to Arecont Visiotl LLC-a11 rights, title- and-interest- in and ownership of the-

Wonder Vision Claims, provided that Messrs. Michael Kaplinsky and Vladimir Berezin (the

Debtors' former principals) are entitled to payment of 10% of the net cash proceeds received by

the Debtors on account of the Wonder Vision Claims as long as they reasonably assist in the

prosecution of such claims. AIG, on the one hand, and Messrs. Kaplinsky and Berezin, on the

other hand, also released each other of all potential claims and causes of action, as did the

Debtors, on the one hand, and Messrs. Kaplinsky and Berezin, on the other hand.                 The

Settlement Agreement reaffirmed that the Wonder Vision Claims and the proceeds thereof, other

than the percentage of proceeds earmarked for Messrs. Kaplinsky and Berezin, are subject to the

Prepetition Liens.

                   16.   There is no funding currently available to the Debtors' estates to continue

to prosecute the Wonder Vision Claims and the expected proceeds thereof would constitute the

collateral of the Collateral Agent. The Debtors therefore seek to abandon the Wonder Vision

Claims and assign all right, title and interest in and ownership of such claims, including all rights

and interests of the Debtors under the NetPosa Sale Agreement, the related escrow agreement

(including any right of the Debtors to receive funds held in escrow) and any other related

document and any rights to recover or collect amounts owed thereunder, to the Collateral Agent

or such other party as the Collateral Agent may designate, subject to the rights and obligations of

Messrs. Kaplinsky and Berezin.




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D.     Payment of Professional Fees

                  17.   On June 7, 2018, the Court entered the O~deN Establishing Procedu~es,fo~

Interim Compensation and Reimburserrcent ofExpenses ofPNofessionals [Docket No. 102] (the

"Interim Compensation Order").       Pursuant to the Interim Compensation Order, the Court

approved procedures for governing applications for and payment of fees and expense requested

by professionals. All professionals retained in these Chapter 11 Cases intend to file final fee

applications to be considered prior to, at, or following the hearing on this Motion. The Debtors

request that the Court retain jurisdiction to consider and rule on any final fee applications

following entry of the Dismissal Order, to the extent necessary.

                                        Relief Requested

                  18.   By this Motion, the Debtors request entry of the Dismissal Order,

(i) authorizing the abandonment of certain assets not included in the Sale,(ii) exculpating certain

parties from liability in connection with these cases, (iii) dismissing these Chapter 11 Cases

pursuant to § 1112(b) of the Bankruptcy Code,(iv) terminating the claims and noticing services

of Omni, and (v) granting related relief.

A.     Cause Exists to Dismiss These Chapter 11 Cases Under Section 1112(b) of the
       Sankruptcj~ Code

                  19.   Section 1112(b) of the Bankruptcy Code provides that "on request of a

party in interest, and after notice and a hearing, the court shall convert a case under [chapter 11

to a case under chapter 7 or dismiss a case under [chapter 11], whichever is in the best interests

of creditors and the estate, for cause unless the court determines that the appointment ... of a

trustee or examiner is in the best interests of creditors and the estate." 11 U.S.C. § 1112(b)(1)




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(emphasis added). The party seeking dismissal bears the burden to establish the requisite

"cause." In re Riverbend-Cmty.-LLC, Na 11-11771;2012 WL 1030340; at *3 (Bankr:D. DeL

Mar. 23, 2012). In addition, "[t]he determination of cause under § 1112(b) is subject to judicial

discretion under the circumstances of each case." In re Am. Capital Equip., LLC,688 F.3d 145,

161 (3d Cir. 2012)(quoting Albany Partners, Ltd. v. Westbrook (In re Albany Partners, Ltd.,

749 F.2d 670,.674(1 lth Cir. 1984)).

                  20.       According to the Third Circuit, "[s]ection 1112(b) requires atwo-step

process in which the court first determines whether there is `cause' to convert or dismiss, and

next chooses between conversion and dismissal based on `the best interest of creditors and the

estate."' Am. Capital Equip, 688 F.3d at 161 (quoting 11 U.S.C. § 1112(b)). Once "cause" is

established under section 1112(b) of the Bankruptcy Code (and assuming that the Court declines

to appoint a trustee or examiner), the Court fnust dismiss or convert the case unless(a)"the court

finds and specifically identifies unusual circumstances establishing that ... dismissing the case is

not in the best interests of creditors and the estate;"(b)"there is reasonable likelihood that a plan

will be confirmed within the timeframes established in sections 1121(e) and 1129(e) of

[the Bankruptcy Code], or if such sections do not apply, within a reasonable period of time;" and

(c) an objecting party establishes certain other enumerated statutory requirements.4 11 U.S.C.

§ 1112(b)(2); see also In re Scarborough—St. James Corp., No. 15-10625, 2015 WL 5672628, at



4 Specifically, a party opposing a motion to dismiss under section 1112(b) ofthe Bankruptcy Code also must
establish that "the grounds for converting or dismissing a case include an act or omission ofthe debtor other than
under paragraph (4)(A)[providing that cause for dismissal includes `substantial or continuing loss to or diminution
of the estate and the absence of a reasonable likelihood of rehabilitation']—(i) for which there exists a reasonable
justification for the act or omission; and (ii) that will be cured within a reasonable period of time fixed by the court."
1 i u.s.c. § 1 i 12(b)(2)(B).


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*2 (Bankr. D. Del. Sept. 24, 2015) (except where these "limited circumstances" are present,

"[o]nce the Court-finds -that-`cause' exists, dismissal or conversion is necessary"); Riverbend

Cmtv•, 2012 WL 1030340, at *3 ("Section 1112(b) is clear that the Court must dismiss or

convert Debtor's case if Movants establish `cause,' which is defined in Section 1112(b)(4). The

only `but' to the mandatory conversion or dismissal is if a debtor can prove the existence of

`unusual circumstances specifically identified by the court' showing that dismissal or conversion

is not in the best interests of the creditors and the estate.")(internal citation omitted).

                    21.   Section 1112(b)(4) of the Bankruptcy Code lists several examples of

factors supporting a finding that "cause" exists within the meaning of section 1112(b)(1),

including where there is "substantial or continuing loss to or diminution of the estate and the

absence of a reasonable likelihood of rehabilitation" or "failure to ... confirm a plan, within the

time fixed by [the Bankruptcy Code] or by order of the court." 11 U.S.C. § 1112(b)(4)(A), (J).

"As provided in the plain language of the Code, courts have held that if one of the grounds for

dismissal or conversion is § 1112(b)(4)(A)(substantial or continuing loss to or diminution of the

estate and the absence of a reasonable likelihood of rehabilitation), the § 1112(b) inquiry ends;

the case must be converted or dismissed." In re Korn, 523 B.R. 453, 465 n.28 (Bankr. E.D. Pa.

2014)(collecting cases).

                    22.   This list of examples constituting "cause" for dismissal or conversion set

forth in section 1112(b)(4) of the Bankruptcy Code is non-exclusive, however, and "cause" also

may be found under circumstances not specifically addressed in that provision. See Am. Capital

Equip•, 688 F.3d at 161 ("Section 1112(b) provides anon-exhaustive list of grounds for finding




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`cause' to convert or dismiss.") (citing In re SGL Carbon Corp., 200 F.3d 154, 160

(3d Cir. 1999)); Scarborough-St. James, 2015 WL 5672628; at *2 {"'Cause' is a-flexible

standard, and the examples listed in subsection (b)(4) are not exhaustive.")(citing In re Inwood

Heights Hous. Dev. Fund Corgi, No. 11-13322, 2011 WL 3793324, at *6 (Bankr. S.D.N.Y.

Aug. 25, 2011)); Korn, 523 B.R. at 464-65 ("The examples [of `cause' set forth in section

1112(b)(4)] are illustrative and not exhaustive.")(citations omitted); In re PM Cross, LLC, 494

B.R. 607, 617 (Bankr. D.N.H. 2013)(section 1112(b)(4)'s list of factors constituting "cause" is

"not exclusive," and "the court may consider other factors as they arise and use its powers to

reach appropriate results in individual cases")(quoting In re Gonic Realty Tr., 909 F.2d 624,626

(1st Cir. 1990)).

                  23.   According to the Third Circuit, in addition to the factors specifically

enumerated in section 1112(b)(4) of the Bankruptcy Code,"[a] court may also find cause [under

section 1112(b)] where there is not `a reasonable possibility of a successful reorganization within

a reasonable period of time."' Am. Capital Equip, 688 F.3d at 162 (quoting First Jersey Nat'1

Bank v. Brown (In re Brown), 951 F.2d 564, 572 (3d Cir. 1991)); see also Anderson v.

Commonwealth Renewable Energ ,Inc. In re Commonwealth Renewable Energy,

550 B.R. 279, 283 (Bankr. W.D. Pa. 2016)(same). The Third Circuit also has stated that, even

though the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005 ("BAPCPA")

modified the list of examples set forth in section 1112(b)(4) constituting "cause" for dismissal or

conversion —including by replacing the phrase "inability to effectuate a plan" with "inability to

effectuate substantial consummation of a confirmed plan" —post-BAPCPA, "the `inability to




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effectuate a plan' remains a viable basis for dismissal because the listed examples of cause are

not exhaustive." Id. -at -162 n.10 (citing DCNG N.C.-I L.L.C. v. Wachovia Bank N A.,

No. 09-3775, 2009 WL 3209728, at *5 (E.D. Pa. Oct. 5, 2009))(quotation marks omitted).

                  24.   Here, the Debtors have sold substantially all of their assets in connection

with the Sale and no longer have ongoing operations. The Debtors also are not aware of any

material unencumbered assets. Therefore, the Debtors have no going concern value to preserve

or property available to generate value for the benefit of unsecured creditors (the claims of which

the Debtors estimate to be less than $500,000). All that remains of value is the Unsold

Collateral, including the Wonder Vision Claims, which the Debtors now seek to abandon to the

Collateral Agent for the benefit of AIG.

                  25.   Absent dismissal, the Debtors will continue to incur substantial chapter 11

administrative expenses with no available funds to pay such expenses. The Debtors do not have

access to unencumbered assets necessary to fund a chapter 11 plan or the pursuit of the Wonder

Vision Claims. Because the estates have no unencumbered assets, there would be no meaningful

role for a chapter 7 trustee. Thus, the Debtors believe that dismissal of these Chapter 11 Cases is

the best means of achieving an orderly and efficient wind-up of their affairs, and cause exists to

dismiss these cases pursuant to § 1112(b)(4) of the Bankruptcy Code.

B.     Dismissal is in the Best I~rterest of the Debtors' Creditors and Their Estates

                  26.   Once a court determines that cause exists to dismiss a debtor's chapter 11

case, the court must then evaluate whether dismissal is in the best interests of the debtor's

creditors and the estate. See, ~,Rollex Corp. v. Associated Materials, Inc. (In re Superior




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Siding &Window, Inc.), 14 F.3d 240, 242(4th Cir. 1994)("Once `cause' is established, a court

is required_to consider-this second question of whether to dismiss or convert."). Dismissal of a

chapter 11 bankruptcy case meets the "best interests of creditors" test where a debtor has nothing

to reorganize and the debtor's assets are fixed and liquidated. See Camden Ordinance Mfg

of Ark. Inc. v. U.S. Tr. (In re Camden Ordnance Mfg. Co. of Ark., Inc.), 245 B.R. 794, 799

(E.D. Pa. 2000)(reorganization to salvage business which ceased business was unfeasible).

                   27.   Here, the Debtors have nothing left to reorganize because substantially all

of their assets and operations were sold pursuant to the Sale Order, and the material assets

remaining in the Debtors' estates are encumbered by the liens of the Collateral Agent and not

available for distributions to unsecured creditors pursuant to a chapter 11 plan or upon

conversion to chapter 7 (as noted above, the pool of unsecured claims also should be quite

small).

                   28.   Additionally, a court may find dismissal to be in the "best interests of the

creditors" where a debtor demonstrates the ability to oversee its own liquidation. See Camden

Ordinance,. 245 B.R. at 797-98; Mazzocone, 183 B.R. 402, 412 (Bankr. E.D. Pa. 1995)("Only

when a Chapter 11 debtor has no intention or ability to ...perform its own liquidation .. .

should a debtor be permitted to remain in bankruptcy ...."). Here, the Debtors have already

liquidated their assets pursuant to the Sale Order and have otherwise demonstrated themselves to

be capable of overseeing their own liquidation.

                   29.   Additionally, dismissal is appropriate because it will maximize the value

of the Debtors' estates. The alternative—conversion to a chapter 7 liquidation and appointment




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of a trustee—is unnecessary, would provide no benefit to unsecured creditors (of which there are

few}, and would impose significant additional administrative costs upon the Debtors' estates

without any meaningful source of funds to satisfy such costs. A chapter 7 trustee would have no

access to unencumbered funds to satisfy any claims arising after conversion to chapter 7 of the

Bankruptcy Code. As a result, creditors would not receive greater recoveries in a chapter 7

liquidation.

C.     The Debtors are Not De~~iatin~ from the Priority Scheme

                  30.   The proposed dismissal complies with applicable law governing

distributions of estate property.    As stated by the Supreme Court, a final disposition "in

connection with the dismissal of a Chapter 11 case cannot, without the consent of the affected

parties, deviate from the basic priority rules." Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973,

978 (2017). Here, the Dismissal Order does not provide for the distribution of estate property

except by way of the abandonment of the Unsold Collateral as addressed below, which is

consistent with applicable priorities.

D.     Abandonment of the ~'Vonder Vision Claims and All Reinainin~ Unsold Collateral

                  31.   Section 554(a) of the Bankruptcy Code allows a trustee or debtor in

possession to abandon and destroy its interest in property of the estate if the property is

(i)"burdensome to the estate" or (ii) "of inconsequential value and benefit to the estate." 11

U.S.C. § 554(a); see also Midlantic National Bank v. New Jersey Department of Environmental

Protection, 474 U.S, 494, 507(1986)(noting that a trustee's power to abandon property is broad,

subject only to state laws or regulations "reasonably designed to protect the public health or




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safety from identifiable hazards").

                  32.   The- Debtors submit that continued prosecution of the Wander Vision         -

Claims is not possible given a lack of funding to the estates, and in any case, would be

burdensome given that the estates are not expected to realize any proceeds of such claims. The

expected proceeds of the Wonder Vision Claims are encumbered by the liens of the Collateral

Agent. Therefore, abandonment of the Wonder Vision Claims to the Collateral Agent ar such

other party as the Collateral Agent designates is appropriate.

E.     Approval of Professional Fees

                  33.   In connection with winding down the Debtors' estates and the dismissal of

these Chapter 11 Cases, and notwithstanding any provisions to the contrary in the Interim

Compensation Order, the Debtors intend to seek the Court's approval of the final payment of

professional fees and expenses incurred by professionals on behalf of the Debtors' estates

throughout the these Chapter 11 Cases. Courts in this jurisdiction have routinely approved final

professional fees in the context of dismissals. See, e.g., In re Real Industr,~, No. 17-12464

(KJC)(Bankr. D. Del. June 27, 2018); In re Sunco Liquidation, Inc., No. 17-10561 (KG)(Bankr.

D. Del. Aug. 18, 2017); In re Old Towing, No. 17-10249 (LSS)(Bankr. D. Del. May 30,

2017); In re TAH Windown Inc., No. 16-11599(MFW)(Bankr. D. Del. Jan. 13, 2017).

                  34.   The Debtors' professionals intend to file final fee applications to be

considered by the Court at, prior to, or following the hearing on this Motion. The Debtors

request that the Court retain jurisdiction to consider and rule on any final fee applications

following entry of the Dismissal Order, to the extent necessary.




                                                16
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F.     Termination of the Claims and Noticing Services

                  35.   The Debtors also request entry of an order terminating the claims and

noticing services (the "Claims and Noticin~LServices") provided by Omni pursuant to the Order

AuthoNizing Retention and Appointment of Omni Management Group, Inc, as Claims and

Noticing Agent Under 28 U.S.C. ~ 156(c), 11 U.S.C. ~ 105(a) and LBR 2002-1(~ [Docket No.

34](the "Omni Retention Order"). Upon termination of the Claims and Noticing Services, and

except as otherwise provided herein, Omni shall have no further obligations under the Omni

Retention Order to the Court, the Debtors, the Debtors' estates, or any other party in interest with

respect to the Claims and Noticing Services in these Chapter 11 Cases.

                  36.   Pursuant to Local Rule 2002-1(~(ix), within 14 days of entry of an order

dismissing these Chapter 11 Cases, Omni will (a) forward to the Clerk of the Court an electronic

version of all imaged proofs of claim, (b) upload the creditor mailing list into CM/ECF and

(c)file a Final Claims Register containing claims asserted in all of the Debtors' cases on the

docket of the remaining case (Case No. 18-11142 (CSS)). Omni also will box and deliver all

original proofs of claim to the Philadelphia Federal Records Center, 14470 Townsend Road,

Philadelphia, Pennsylvania 19154 and file a completed SF-135 Form indicating the accession

and location numbers of the archived claims. In addition, pursuant to Local Rule 2002-1(~(xii),

Omni will file a Final Claims Register on the docket of each of the Debtors' cases containing

only the claims asserted in that specific case.




                                                  17
DOCS DE220441.8
G.     All Prior Orders, Settlements, Rulings, and Judgments Should Remain Binding and
       Continue to Be in Full Force and Effect

                  37.   The dismissal of a chapter 11 case ordinarily provides for what is, in

effect, a restoration of the prepetition status quo. See 11 U.S.C. § 349(b). A bankruptcy court

may, however, "for cause, order[] otherwise ...." Id. Courts in this jurisdiction have regularly

allowed orders, including those approving releases and settlements, to be given continued effect

after a dismissal, notwithstanding § 349 of the Bankruptcy Code. S~ ems., In re Sunco

Liquidation, Inc., No. 17-10561 (KG)(Bankr. D. Del. Nov. 6, 2017)(giving continued effect to

orders entered throughout the pendency of the chapter 11 cases); In re Old Towing Co•, Case No.

17-10249 (LSS)(Bankr. D. Del. May 30, 2017)(giving continued effect to 363 sale order and

any releases, injunctions and successor liability provisions provided for in such sale); In re TAH

Windown, Inc., Case No. 16-11599 (MFW)(Bankr. D. Del. Jan. 13, 2017) (giving orders,

releases, and injunctions continuing effect); In re Citesports, Inc., Case No. 15-12054 (KG)

(Bankr. D. Del. Mar. 4, 2016)(giving continued effect to previously entered orders); In re Coach

Am Grp. Holdin s~ Corp•, Case No. 12-10010(KG)(Bankr. D. Del. May 31, 2013 (same); In re

ICL Holding Co., Case No. 12-13319(KG)(Bankr. D. Del. Sept. 10, 2014)(same).

                  38.   Here, numerous parties in interest, including the Purchaser and the

Debtors, have relied upon orders entered by the Court in connection with these cases.

Specifically, the Sale Order approved the sale of substantially all of the Debtors' assets.

Similarly, the finality of the releases, stipulations, and protections contained in the Final DIP

Order were necessary to induce the DIP lenders to extend postpetition financing. As a practical




                                               18
DOGS DE220441.8
matter, the transactions consummated in reliance upon these orders are indefeasible and

impossible to unwind.

                  39.    Given these circumstances, the Debtors submit that cause exists to allow

all prior orders, releases, stipulations, settlements, rulings, and judgements entered by the Court

in these cases to be given continued effect, notwithstanding dismissal ofthese cases.

H.     The Limited Exculpation Pro~~isions in the Dismissal Order Should Be Approved

                  40.    As part of the Dismissal Order, the Debtors request the following limited

exculpation provision:
                  From and after the entry ofthis Order, the Debtors, and any ofthe
                  Debtors' respective directors, officers, employees, attorneys, consultants
                  and advisors who served during any portion of these chapter 11 cases, and
                  any other professionals retained in these cases (each an "Exculpated
                  Partv" and collectively, the "Exculpated Parties"), shall be exculpated
                  from any liability for any act taken or omitted to be taken in good faith
                  through the date of entry of this Order for any actions in connection with
                  or related to the Debtors or the Debtors' chapter 11 cases, except for any
                  claim or cause of action arising from the fraud, gross negligence, or willful
                  misconduct of such party.

                  41.    Limited exculpation, such as that sought by the Debtors in the Dismissal

Order, is appropriate when it is fair, necessary, and supported by the factual record. See, e.g.,

Gillman v. Cont'1 Airlines (In re Cont'1 Airlines, 203 F.3d 203, 214(3d Cir. 2000). Recently, in

In re Real Industr,~, No. 17-12464 (KJC) (Bankr. D. Del. June 27, 2018), Judge Carey

approved limited exculpations similar to the exculpations sought here.             In approving the

exculpations, Judge Carey found it important that notice of the motion was served on the entire

creditor matrix, which was more than 9,000 parties, that there was no hint of wrongdoing by any

of the proposed parties to be exculpated, and that the exculpated parties acted appropriately in




                                                   19
ROCS DE220441.8
maximizing the value of the assets of the estate. See Transcript of Real Industry, Inc., et al., No.

17-12464(KJC)(Banks. D. Del. June 27, 2018), attached hereto as Exhibit B.

                  42.   The Debtors, their officers, directors, and employees, and other estate

professionals and fiduciaries worked diligently throughout the Chapter 11 Cases to consummate

the Sale of substantially all of the Debtors' assets. As a result of their efforts, the Exculpated

Parties have preserved and maintained valuable business and customer relationships, held a

successful auction increasing the purchase price by approximately $3,875,000, caused the

Purchaser to assume a substantial portion of the Debtors' liabilities, including certain

administrative and general unsecured trade claims and employee vacation, sick, and other paid

time off obligations, and provided the Debtors with the ability to wind-down their estates in an

orderly and efficient manner. There is no evidence of wrongdoing by any of the Exculpated

Parties. Further, all creditors and other parties in interest in these Chapter 11 Cases will be

provided with notice of, and an opportunity to object to, the proposed exculpation.

                  43.   In consideration of the efforts of the Exculpated Parties, the Debtors seek

limited exculpations, which are narrowly drafted to include only estate fiduciaries. In re

Washington Mut. Inc., 442 B.R. 314, 322, 350 (Banks. D. Del. 2011).               The exculpation

provisions will protect the Exculpated Parties from liability for any actions taken (or omitted to

be taken) in good faith, relating to or in connection with these Chapter 11 Cases. Further, the

proposed exculpation provisions expressly exclude liability for any acts of gross negligence or

willful misconduct on the part of the Exculpated Parties. Courts in this jurisdiction have

approved similar relief in the past. See, ~,In re Real Industr,~, No. 17-12464 (KJC)




                                                20
DOCS DE220441.8
(Bankr. D. Del. June 27, 2018) (approving form of dismissal order containing limited

exculpations); In re Golfsmith Int'1 Holdings, Inc., No. 16-12033 {LSS)(Bankr. D. Del. Jan. 24,

2018)(approving form of dismissal order containing broad releases); In re Citesports, Inc., No.

15-12054 (KG)(Bankr. D. Del. Mar. 4, 2016)(approving broad exculpation provision); In re

Coach Am Grp. Holdin~Cor~, No. 12-10010(KG)(Bankr. D. Del. May 31, 2013)(approving

consensual releases and broad exculpation). The Debtors therefore submit that the limited

exculpation provisions in the Dismissal Order are appropriate, and request that they be approved.

                                               Notice

                  44.   The Debtors will provide notice of this Motion to the following parties, or

their counsel, if known: (a) the Office of the United States Trustee; (b) the Debtors' largest 20

creditors; (c) the Debtors' prepetition and postpetition lenders; (d) any party that has requested

notice pursuant to Bankruptcy Rule 2002 at the time of noticing; (e) all parties listed on the

Debtors' consolidated creditor matrix, and (~ all of the Debtors' equity holders. The Debtors

submit that, in light of the nature of the relief requested, no other or further notice need be given.




                                                 21
DOCS DE220441.8
                                         No Prior Request

                   45.   No previous motion or application for the relief sought herein has been

made to this or any other court.


Dated: September 18, 2018               PACHULSKI STANG ZIEHL &JONES LLP

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                                                 22
DOGS DE:220441.8
